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1 |i Carney R. Shegerian, Esq., State Bar No. 15046]
SHEGERIAN ASSOCIATES INC
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SAORI on. = COMMENTING
3 elépnone Number: ~ i
Facsimile Number: (310) 866-0771 Los Angeles Superior Court
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5 storeys for Plaintiff, John A. Clarke, Executve Officer/Clerk
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7 AE. LaFLEUR-CLAYTON Deputy
3 SUPERIOR COURT OF THE STATE OF CALIFORNIA
9 FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
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Ht || JAYNE CLEMENT, Case No.: BC 376 036
12 The Honorable Haley J. Fromholz
13 Plaintiff, PLAINTIFF JAYNE CLEMENT’S FIRST
AMENDED COMPLAINT FOR
4 DAMAGES FOR:
Vs,
1s (1) WRONGFUL TERMINATION OF
EMPLOYMENT IN VIOLATION OF
16 1} TRIBUNE COMPANY, TRIBUNE PUBLIC POLICY ON THE BASIS
INTERACTIVE, TRIBUNE MEDIA OF AGE DISCRIMINATION;
'7 || NET, INC.. LOS ANGELES TIMES
COMMUNICATIONS, LLC, LOS (2) WRONGFUL TERMINATION OF
ts || ANGELES TIMES, DONNA EMPLOYMENT IN VIOLATION OF
STOKLEY, and DOES 1 to 100, PUBLIC POLICY (COMPLAINING
19 |/ inclusive, ABOUT WAGE ISSUES);
20 (3) DEFAMATION;
21 (4) VIOLATION OF LABOR CODE
2 Defendants. SECTIONS 1050, et. seq.;
(5) BREACH OF IMPLIED-IN-FACT
23 CONTRACT NOT TO TERMINATE
EMPLOYMENT WITHOUT GOOD
74 CAUSE.
25 DEMAND FOR JURY TRIAL
26 Dept: 20
Action Filed: August 16, 2007
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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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Plaintiff, Jayne Clement, alleges:

INTRODUCTORY ALLEGATIONS

1. Plaintiff, Jayne Clement (“plaintiff’ or “Clement”), is, and at all times
mentioned in this Complaint was, a resident of Los Angeles County, California.

2. Defendant Tribune Company (“defendant” or “Tribune Company”) is, and at all
times mentioned in this Complaint was, authorized to operate by the State of California
and the United States government and authorized and qualified to do business in the
County of Los Angeles. At all times known to plaintiff, Tribune Company’s principal
place of business was in the County of Los Angeles.

3. Defendant Tribune Interactive (“defendant” or “Tribune Interactive”) is, and at
all times mentioned in this Complaint was, authorized to operate by the State of
California and the United States government and authorized and qualified to do business
in the County of Los Angeles. At all times known to plaintiff, Tribune Interactive’s
principal place of business was in the County of Los Angeles.

4. Defendant Tribune Media Net, Inc. (“defendant” or “Tribune Media”) is, and at
all times mentioned in this Complaint was, authorized to operate by the State of
California and the United States government and authorized and qualified to do business
in the County of Los Angeles. At all times known to plaintiff, Tribune Media’s principal
place of business was in the County of Los Angeles.

5. Defendant Los Angeles Times Communications, LLC (“defendant” or “Times
Communications”), is, and at all times mentioned in this Complaint was, authorized to
operate by the State of California and the United States goverment and authorized and
qualified to do business in the County of Los Angeles. At all times known to plaintiff,
Times Communications’ principal place of business was in the County of Los Angeles.

6. Defendant Los Angeles Times (“defendant” or “Times”) is, and at all times
mentioned in this Complaint was, authorized to operate by the State of California and the
United States government and authorized and qualified to do business in the County of

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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Los Angeles, At all times known to plaintiff, Times’ principal place of business was in
the County of Los Angeles.

7. Defendant Donna Stokley (“Stokley”) is, and at all times mentioned in this
Compiaint was, employed by Tribune Company, Tribune Interactive, Tribune Media,
Times Communications, and/or Times as a director and was plaintiff's supervisor. At all
times known to plaintiff, defendant Stokley was a resident of the County of Los Angeles.

8. Plaintiff Clement worked for defendants as an account executive from 2000
through August of 2005, At all relevant times, Clement was an exemplary employee.

9. Defendants Does 1 through 100 are sued under fictitious names pursuant to
Code of Civil Procedure section 474. Plaintiff is informed and believes, and on that
basis alleges, that each of the defendants sued under fictitious names is in some manner
responsible for the wrongs and damages alleged below, in so acting was functioning as
the agent, servant, partner, and employee of the co-defendants, and in taking the actions
mentioned below was acting within the course and scope of his or her authority as such
agent, servant, partner, and employee, with the permission and consent of the co-
defendants.

10. Defendants Tribune Company, Tribune Interactive, Tribune Media, Times
Comraunications, and Times both directly and indirectly employed plaintiff. In addition,
defendants Tribune Company, Tribune Interactive, Tribune Media, Times
Communications, and Times compelled, coerced, aided, and abetted the discrimination.
At all relevant times mentioned herein, each of the entity defendants acted as the others’
agent. At all relevant times alleged, all defendants acted as agents of all other defendants
in committing the acts alleged herein.

il. During Clement’s employment with defendants, she made repeated complaints
about pay issues, but her complaints were never resolved. In August of 2005, her
employment was terminated after approximately nine months of making complaints
about her supervisor, Donna Stokley, to human resources and experiencing retaliation in

response.

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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12. Thereafter, defendants defamed Clement to various prospective employers and
persons in plaintiff's industry in violation of anti-defamation laws and California’s law

prohibiting blacklisting.

FIRST CAUSE OF ACTION

(Wrongful Termination of Employment in Violation of
Public Policy (Age Discrimination) — Against Defendants
Tribune Company, Tribune Interactive, Tribune Media,
Times Communications, and Times)

13. The allegations set forth in paragraphs 1 through 12 are re-alleged and
incorporated herein by reference.

14. At all times herein mentioned, a fundamental public policy prohibiting age
discrimination that was in full force and effect and was binding on defendants. This
public policy required defendant to refrain from discriminating any employee because he
or she is more than 40 years old, whether the discrimination is intentional or a disparate
impact of business practices,

15. During plaintiff's employment with defendants, defendants, through their
supervisors, managers, and directors, engaged in intentional actions that resulted in
plaintiff being treated less favorably because of her age. Defendants maintained a
systematic and continuing policy and goal of discharging and demoting employees over
the age of 40, both intentionally and as an adverse impact of their business practices.
Plaintiff believes and alleges that her age was a motivating factor in the termination of
her employment.

16. During plaintiff's employment with defendants, defendants made ageist
comments in plaintiff’s presence, showed favoritism in hiring and promoting younger
employees as well. Defendants excluded plaintiff from social events and refused to give
plaintiff credit for her accomplishments despite an exemplary sales record all due to her
age and her making compiaints about not being paid wages that she believed that she

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PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES

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17. As a proximate result of defendants’ willful, knowing, and intentional
discrimination against plaintiff, plaintiff has suffered and continues to suffer humiliation,
emotional distress, and mental and physical pain and anguish, all to her damage in a sum
according to proof. . .

18. Defendants’ discrimination was done intentionally, in a malicious, oppressive
manner, entitling plaintiff to punitive damages.

19, Plaintiff has incurred and continue to incur legal expenses and attorneys’ fees
and is entitled to the same under California Code of Civil Procedure section 1021.5.

SECOND CAUSE OF ACTION

(Wrongful Termination of Employment in Violation
of Public Policy (For Making Wage Complaints) —
Against Defendants Tribune Company, Tribune
Interactive, Tribune Media, Times Communications,
and Times)

20. The allegations set forth in paragraphs 1 through 19 are re-alleged and
incorporated herein by reference.

21. At all relevant times, there existed a fundamental public policy that prohibited
defendants from terminating any employees based on such employees discussing the
desire for an increase in pay, perceived disparities or the awarding of bonuses.

22. Such public policy has been held in numerous case decision including Burton v.
Covenant Care (2002) 99 Cal.App.4" 1361, 1376 which held that the Labor Code
provides basis a basis for a public policy claim, as follows: .

“(T]he public policy of this State is declared as follows: [ijt is
necessary that the individual workman have full freedom of association . . .
free Hom the interierence, restate or waste acing athe shall be
mele r agents, in... concerted activities for the purpose of .. . mutual aid or

“The very purpose of the statute is to protect employees who want to
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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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discuss some aspect of their compensation, for example, a possible increase
in pay perceived disparities in pay, or the awarding of bonuses. (emphasis
ad J
Id, at 1374; 1376-77.
23. Many other case decisions have held that an employee cannot be fired for
raising any types of wage complaints to an employer. See Phillips v. Jemini Moving
Specialties (1998) 63 Cal.App.4" 563 (employee may sue for wrongful discharge based

on retaliatory firing for disputing wage deductions); Gould v. Maryland Sound Industries
(1995) 31 Cal.App.4" 1137 (employee may sue for wrongful discharge based on
retaliatory firing for disputing overtime and other wages due). .

24. Defendants terminated plaintiff's employraent in violation of the public policy
at issue in these case and various Labor Code statutes including sections 200, 201, 216,
1194 et. seq. Specifically, plaintiff's employment was terminated in part because she
made numerous complaints to defendant about her wages, Compensation and pay during
the last nine months of her employment to defendant Donna Stokley and defendants’
human resources department thereafter.

25. As a proximate result of defendants’ termination of plaintiff's employment in
violation of these public policies, plaintiff has suffered and continues to suffer
humiliation, emotional distress, and mental and physical pain and anguish, all to her
damage in a sum according to proof. _

26. Defendants’ retaliatory termination of plaintiff's employment in violation of
public policy was done intentionally, in a malicious, oppressive manner, entitling
plaintiff to punitive damages.

27. Plaintiff has incurred and continue to incur legal expenses and attorneys’ fees
and is entitled to the same under California Code of Civil Procedure section 1021.5,

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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THIRD CAUSE OF ACTION

(Defamation (Civil Code §§ 45, 46) — Against Defendants
Tribune Company, Tribune Interactive, Tribune Media,
Times Communications, Times, and Stokley)

28. The allegations set forth in paragraphs | through 27 are re-alleged and
incorporated herein by reference.

29. Defendant Donna Stokley falsely informed individuals other than plaintiff that
plaintiff was: (1) an incompetent employee; (2) an unsuccessful employee; (3) not a
diligent employee; (4) a trouble employee; and (5) not the type of employee another
company in the same field would want to hire.

30. Defendant Stokley made such comments to Margaret Helpsley, Leah Corseili,
Seashall Morse, Kristen Williams and Greg Weber;

31. Such comments were untrue, such comments were intentionally misleading, and
such comments were maliciously made by defendant Stokley.

32. Defendants falsely informed individuals other than plaintiff that plaintiff was an
incompetent employee, despite the fact that plaintiff had had years of outstanding
performance evaluations during her employment with defendants.

33. As a result of these false statements, plaintiff has been injured in her profession
and continues to be injured in her profession. Plaintiff has sustained and continues to
sustain losses of earnings and other employment benefits.

34. As a proximate result of defendants’ willful, knowing, and intentional false
representations about plaintiff, plaintiff has suffered and continues to suffer humiliation
and mental pain and anguish, all to her damage in a sum according to proof.

35. Defendants’ misconduct was done intentionally, in a malicious, despicable,
oppressive manner, entitling plaintiff to punitive damages against defendants.

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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FOURTH CAUSE OF ACTION

(Violation of Labor Code §§ 1050, et. seq.
~— Against Defendants Tribune Company, Tribune
Interactive, Tribune Media, Times Communications,
Times and Stokley)

36. The allegations set forth in paragraphs 1 through 35 are re-alleged and
incorporated herein by reference.

37. At all times herein mentioned, Labor Code sections 1050, et. seq. was in full
force and effect and were binding on defendants. This statute: mandated that “[alny
person, or agent or officer thereof, who, after having discharged an employee from the
service of such person or after an employee has voluntarily left such service, by any
misrepresentation prevents or attempts to prevent the former employee from obtaining
employment, is guilty of a misdemeanor.”

38. Defendants violated these laws by intentionally misrepresenting plaintiff's
abilities to prospective employers that plaintiff was less than a wholly excellent,
competent and hard-working employee.

39. Specifically, defendants violated these laws by intentionally ntisrepresenting
plaintiff's abilities to USA Today, a company for which plaintiff applied for
employment, so that plaintiff would be prevented from obtaining subsequent
employment.

40. Defendant Donna Stokley falsely informed individuals other than plaintiff that
plaintiff was: (1) an incompetent employee; (2) an unsuccessful employee; (3) not a
diligent employee; (4) a trouble employee; and (5) not the type of employee another
company in the same field would want to hire. Defendant Stokley made such comments
to Margaret Helpsley and Leah Corselli;

41. As a proximate result of defendants’ willful, knowing, and intentional action,
plaintiff has sustained and continues to sustain substantial losses of earnings and other
employment benefits.

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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42. Defendants’ actions in intentionally misinforming others about plaintiff's
abilities as an employee were made maliciously and oppressively by a managing agent,
entitling plaintiff to punitive damages;

43. Plaintiff has incurred and continue to incur legal expenses and attorneys’ fees

and is entitled to the same.

FI E OF ACTION
(Breach of Implied-in-Fact Contract Not to Terminate
Employment Without Good Cause — Against Defendants
Tribune Company, Tribune Interactive, Tribune Media,
Times Communications, and Times)

44, The allegations set forth in paragraphs | through 43 are re-alleged and
incorporated herein by reference.

45. On the basis of oral assurances of continued employed given to plaintiff by
defendants’ supervisors, the length of plaintiff's employment with defendants,
defendants’ actual practice of terminating employment only for cause, and the industry
standard for the business defendants engage in of terminating employment only for
cause, plaintiff and defendants shared the actual understanding that plaintiff's
employment could and would be terminated only for cause. This shared understanding
resulted in an implied contract requiring that defendants have good cause to terminate
plaintiff's employment.

46. Defendants and their managers and supervisors terminated plaintiff's
employment without good cause, violating the implied-in-fact contract they had with her.

47. As a proximate result of defendants’ willful breach of the implied-in-fact
contract not to terminate employment without good cause, plaintiff has suffered and
continues to suffer damages, including losses of earnings and benefits, in a sum
according to proof.

WHEREFORE, plaintiff, Jayne Clement, prays for judgment against defendants as

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PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES

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' | follows:

2 1. For general and special damages according to proof;

3 2. For exemplary damages according to proof:

4 3. For pre-judgment and post-judgment interest on all damages awarded;

5 4. For reasonable attorneys’ fees;

6 5. For costs of suit incurred;

7 6. For injunctive relief directing defendants from not making misrepresentations

8 |/about plaintiff's work abilities; and
9 7. For such other and further relief as the Court may deem just and proper,

HI ADDITIONALLY, plaintiff, Jayne Clement, demands trial of this matter by jury.

13 || Dated: November 12, 2007

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PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES

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CLEMENT V TRIBUNE, et, al.

age Of 18 and not a party to the within action; may business address is 1880 Century Park

PLAINTIFF
DAMAGES; DEMAND FOR JURY TRIALS n all interested parties i this acti
placing a true copy thereof in a sealed envelope, addresede talons in this action by

gimothy L. Re a Esa

ere Century Pl Suite 3300
2029 Century Park East

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PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
I am an employee in the © County of Los Angeles. State of California. I am over the

Suite 817, Los Angeles, California 90067
On November 13, 2007, I MEN ESS rene
JAYNE’ CLEMENTS FIRST AMENDED C COMPLAINT GOR

Angeles, CA 90067-3063

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(FEDERAL ) I declare that I am employed in the office of a member of the bar of
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